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16                              UNITED STATES DISTRICT COURT

17                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

18                                 SAN FRANCISCO DIVISION

19   KILOPASS TECHNOLOGY, INC.,                  Case No. CV 10-02066 SI

20                 Plaintiff,                    SIDENSE CORP.’S MOTION FOR
                                                 LEAVE TO FILE MOTION FOR
21          v.                                   RECONSIDERATION OF CLAIM
                                                 CONSTRUCTION ORDER
22   SIDENSE CORP.,
                                                 Ctrm.:   10, 19th Floor
23                 Defendant.                    Judge:   Hon. Susan Illston

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     SIDENSE MOTION FOR LEAVE TO FILE MOTION FOR RECONSIDERATION OF CLAIM
     CONSTRUCTION ORDER                                                        -1-
     CASE NO. C10-02066 SI
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 1          Pursuant to L.R. 7–9, Defendant Sidense Corp. (“Sidense”) hereby respectfully moves this

 2   Court for leave to file a Motion for Reconsideration of the Court’s Order regarding Claim

 3   Construction of August 31, 2011 (Dkt. No. 147) (“Claim Construction Order”).

 4          The “emergence of new material facts … occurring after the time” of the interlocutory

 5   Claim Construction Order entitles Sidense to leave to file a motion for reconsideration of the

 6   Claim Construction Order. L.R. 7–9(b)(2). As set for in the accompanying motion for

 7   reconsideration, incorporated herein by reference, after the Claim Construction Order, during

 8   reexamination proceedings involving one of the patents-in-suit, Plaintiff Kilopass Technology,

 9   Inc. (“Kilopass”) explicitly adopted and argued in favor of interpretations of the claim terms

10   “wordline” and “bitline” before the U.S. Patent and Trademark Office (“PTO”) that are

11   fundamentally inconsistent with and contradictory to the constructions Kilopass successfully

12   argued before this Court during the claim construction process, with respect to those same two

13   terms. See, e.g., Kilopass Technology, Inc.’s Opening Claim Construction Brief, pp. 5–7 (Dkt.

14   No. 113). Accordingly, Sidense is requesting leave to file the accompanying Motion for

15   Reconsideration of the Claim Construction Order, such that the Court may reconsider its Claim

16   Construction Order in light of the new facts regarding Kilopass’ subsequent interpretations of the

17   claim terms “wordline” and “bitline,” and judicially estop Kilopass from continuing to assert

18   constructions of those terms in this Court that Kilopass has since disavowed in the PTO, and are

19   plainly inconsistent with the prevailing interpretations in the PTO to which Kilopass now

20   subscribes.

21          The accompanying motion does not repeat any oral or written argument made by Sidense

22   in support of its proposed claim constructions or in opposition to Kilopass’ proposed claim

23   constructions, which Sidense now wishes to be reconsidered. Pursuant to L.R. 7–9(a), Sidense has

24   not noticed the accompanying Motion for Reconsideration because it has not yet obtained leave of

25   the Court to file the motion. Nonetheless, Sidense respectfully requests that, if the Court grants

26   leave to file the Motion for Reconsideration, the Court rule that any additional briefing (if any is

27   deemed necessary) be done as expeditiously as possible.

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     SIDENSE MOTION FOR LEAVE TO FILE MOTION FOR RECONSIDERATION OF CLAIM
     CONSTRUCTION ORDER                                                                           -2-
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        Case 3:10-cv-02066-SI Document 192 Filed 03/23/12 Page 3 of 3


 1          For the foregoing reasons, Sidense respectfully requests that the Court grant Sidense leave

 2   to file the Motion for Reconsideration of the Claim Construction Order.

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     DATED: March 23, 2012                Respectfully submitted,
 4
                                          KILPATRICK TOWNSEND & STOCKTON LLP
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 6
                                          By: /s/ Roger L. Cook
 7                                            ROGER L. COOK
 8                                        Attorneys for Defendant
                                          SIDENSE CORP.
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     SIDENSE MOTION FOR LEAVE TO FILE MOTION FOR RECONSIDERATION OF CLAIM
     CONSTRUCTION ORDER                                                                       -3-
     CASE NO. C10-02066 SI
